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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                          SOUTHERN DIVISON AT LONDON
                           CASE NO. 6:22-CR-041-CHB-HAI

                                 ELECTRONICALLY FILED

 UNITED STATES OF AMERICA,                                                           PLAINTIFF,

 VS.

 DERREK A. LOVETT,                                                                 DEFENDANT.



                       DERREK A. LOVETT TRIAL MEMORANDUM


        COMES NOW the Defendant, Derrek A. Lovett, by and through the undersigned Counsel,

 and submits the following trial memorandum in accordance with the Court’s pretrial management

 order, DE 133.

        Statutes and Elements

        Defense counsel has reviewed the Trial Memorandum of the United States, (DE 147) and

 there is no objection to the Statutes and the Elements listed.

        Statement of the Case

        The Defendant objects to the United States proposed statement of the case. The statement

 of the case should be straight forward, brief, and unbiased in nature. Defendant Lovett submits the

 following to be read to the jury by the Court.

        “Derrek Lovett and Michael Howell are charged with federal crimes alleging to have

 occurred while acting as Kentucky State Police Troopers. Derrek Lovett is charged with willfully

 depriving someone of his constitutional rights by subjecting him to unreasonable force during an

 arrest. Both the Defendants, Derek Lovett and Michael Howell, are charged with conspiring to

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 covering up the act of unreasonable force by engaging in misleading conduct to prevent

 communication regarding the act of unreasonable force to federal authorities. Both Derrek Lovett

 and Michael Howell assert they are not guilty of the crimes charged.”

        Unresolved issues of law and evidentiary issues

        The United States has filed several Motions in Limine and the Court’s standard Order gives

 defense counsel 14 days prior to trial to respond to those motions. The Defendant expects to object

 to the majority of the United States motions and will do so in writing by separate response(s).

        Special Trial Issues

        The Defendant is not aware of any issues that would hinder the jury trial.

        Jury Instructions

        Defense counsel has reviewed the proposed jury instructions of the United States (DE 146).

 Defense counsel has no objections to the United States proposed jury instructions.

        Proposed Voir Dire questions

        The Defendant requests that the Court conduct the questioning of the jury pool. The

 Defendant has no questions for the Court to ask the jury pool.

        Exhibit List and Authenticity of exhibits

        Counsel has conversed and agreed to certain stipulations as well as agreed upon exhibits,

 and agree as to their authenticity. (See DE 142 and DE 143).

                                                      Respectfully submitted,

                                                      /s/ Gregory A. Ousley
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 29, 2024, I electronically filed the foregoing with the Clerk
 of the Court by using the CM/ECF system, which will electronically forward a copy of the
 foregoing to all Counsel of Record.

                                                      /s/ Gregory A. Ousley
                                                      GREGORY A. OUSLEY
                                                      Counsel for Derrek A. Lovett




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